
PER CURIAM:
Claimant, Barbour County Sheriff's Department, provides and maintains a facility for the incarceration of prisoners who have committed crimes in Barbour County. Some of the prisoners held in the facility are guilty of crimes which require the sentencing of prisoners to facilities provided and maintained by the respondent, Division of Corrections. Claimant brought *118this action to recover the costs of housing for prisoners who have been sentenced to a State penal institution, but due to circumstances beyond the control of the county, these prisoners have had to remain in the county prison facility for periods of time beyond the date of the sentencing order.
The Court previously determined in the County Comm'n. Mineral County v. Div. of Corrections, an unpublished opinion of the Court of Claims issued November 21, 1990, that a daily rate of $15.00 for each inmate is fair and reasonable to both claimant and respondent at this time, and directed the parties to calculate a dollar amount based upon the time frame and daily inmate rates of $15.00 excluding, however, all days wherein inmates remained in the county as a result of a stay pending appeal or at the request of county officials and a two week holding period beyond the date of a commitment order.
Pursuant to the guidelines provided in the Mineral County opinion, the respondent reviewed this claim to determine the number of inmate days for which respondent may be liable and filed an Answer admitting the validity and amount of the claim.
In view of the foregoing, the Court makes an award to claimant in the amount of $2,850.00.
Award of $2,850.00.
